
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]
                            United States Court of Appeals
                                For the First Circuit
                                 ____________________


        No. 96-1399

                                 IRINA PETSCH-SCHMID,

                                Plaintiff - Appellant,

                                          v.

                BOSTON EDISON COMPANY, ALISON ALDEN AND JAMES DILLON,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Richard G. Stearns, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________
                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________

            Gretchen  Van  Ness with  whom  Lisa T.  Bacon  was  on  brief for
            ___________________             ______________
        appellant.
            Keith B.  Muntyan, with whom Robert  P. Morris and Morgan, Brown &amp;
            _________________            _________________     _______________
        Joy, were on brief for appellees.
        ___


                                 ____________________

                                  February 27, 1997
                                 ____________________
























                      STAHL,  Circuit  Judge.   Plaintiff-appellant Irina
                      STAHL,  Circuit  Judge.
                              ______________

            Petsch-Schmid seeks  a  new trial  on  her state  claims1  of

            disability2 and gender discrimination after a jury returned a

            verdict   in  favor  of  defendants-appellees  Boston  Edison

            Company, Alison Alden (Petsch-Schmid's supervisor)  and James

            Dillon  (Director  of  Labor  Relations  for  Boston  Edison)

            (collectively,  "Boston Edison").   In  this appeal,  Petsch-

            Schmid attempts to identify reversible  error in a number  of

            the district court's actions.   Some of the actions  of which

            she now complains were in fact taken at her request.  To none

            of her assignations of error did she object below.  Conceding

            that  our review is for  "plain error" only,  see Poliquin v.
                                                          ___ ________

            Garden Way Inc., 989  F.2d 527, 531 (1st Cir.  1993), Petsch-
            _______________

            Schmid  endeavors to persuade us  that this is  the rare case

            warranting  notice of such error.   We decline the invitation

            because  we find  that her  contentions fail  to  satisfy the

            plain error standard.

            1.  Jury Instructions
            _____________________



                                
            ____________________

            1.  We  note  that,  although  the  district court  dismissed
            related federal claims pretrial,  it exercised its discretion
            to retain supplemental jurisdiction over the remaining  state
            claims.  See Newman v. Burgin, 930 F.2d 955, 963-65 (1st Cir.
                     ___ ______    ______
            1991).


            2.  Although  the  relevant Massachusetts  statute  refers to
            "handicap"  discrimination, see  Mass.  Gen.  Laws ch.  151B,
                                        ___
              4(16), for  consistency with our other  cases, we generally
            refer to "disability" discrimination.

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                      For  the  first   time  on  appeal,   Petsch-Schmid

            challenges   a   number   of   the   district  court's   jury

            instructions.  We have stated  repeatedly that the failure to

            object before the jury  retires to the charge or  the verdict

            form  constitutes a waiver.  See Scott-Harris v. City of Fall
                                         ___ ____________    ____________

            River, Nos. 95-1950/1951/1952/2100, slip  op. at 16 (1st Cir.
            _____

            Jan. 15, 1997); see also Fed. R. Civ. P. 51.   Some circuits,
                            ___ ____

            including  ours, have  recognized the  existence of  a "plain

            error"   exception  for  noncompliance   with  Rule   51  for

            "correcting  obvious instances  of  injustice  or  misapplied

            law."  City of Newport v.  Fact Concerts, Inc., 453 U.S. 247,
                   _______________     ___________________

            256 (1981); see Morris  v. Travisono, 528 F.2d 856,  859 (1st
                        ___ ______     _________

            Cir. 1976).   The exception, however,  "warrants a new  trial

            only  where  the  error  'seriously  affected  the  fairness,

            integrity or public reputation of the judicial proceedings.'"

            Poulin v. Greer, 18 F.3d 979, 982-83 (1st Cir. 1994) (quoting
            ______    _____

            Lash v. Cutts, 943  F.2d 147, 152 (1st Cir. 1991));  see also
            ____    _____                                        ___ ____

            Morris, 528 F.2d at  859 (explaining that plain error  should
            ______

            be  noticed  "only in  exceptional  cases  or under  peculiar

            circumstances  to prevent  a  clear  miscarriage of  justice"

            (internal quotation marks and citation omitted)).

                      A.  Prima Facie Case
                      ____________________

                      Petsch-Schmid first challenges the district court's

            description of  the prima  facie elements of  a Massachusetts

            disability discrimination  claim under  Mass.  Gen. Laws  ch.



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            151B,   4(16).  Citing Garrity v.  United Airlines, Inc., 653
                                   _______     _____________________

            N.E.2d 173,  177  (Mass. 1995),  Petsch-Schmid requested  the

            court to instruct the  jury that she prove, inter  alia, that
                                                        _____  ____

            Boston  Edison fired  her solely  because of  her disability.
                                      ______

            See  also Tate  v. Department  of Mental  Health, 645  N.E.2d
            ___  ____ ____     _____________________________

            1159,  1163 (Mass. 1995).  Petsch-Schmid  now claims that her

            requested instruction was  wrong in light  of Blare v.  Husky
                                                          _____     _____

            Injection  Molding Sys.,  646 N.E.2d  111, 115  (Mass. 1995),
            _______________________

            which  sets   forth  the  prima  facie  elements  of  an  age

            discrimination case under ch.  151B without a "solely because
                                                _______

            of" requirement.  See id.
                              ___ ___

                      In response, Boston Edison  contends that Blare  is
                                                                _____

            distinguishable because it concerned  allegations of age, not

            disability, discrimination.  Moreover, Boston  Edison argues,

            the  Massachusetts Supreme  Judicial Court  reaffirmed Tate's
                                                                   ____

            prima  facie elements of  a disability-discrimination case in

            Garrity,  issued  months  after  the  Blare  decision.    See
            _______                               _____               ___

            Garrity, 653 N.E.2d at 177.  Boston Edison concludes that the
            _______

            district court's reliance -- at Petsch-Schmid's request -- on

            the Garrity  formulation cannot  constitute plain error.   We
                _______

            agree.

                      Although  Petsch-Schmid's  argument based  on Blare
                                                                    _____

            may well be  plausible, it  calls upon this  court, on  plain

            error  review, to  differ with  the Supreme  Judicial Court's

            formulation   of   a   prima   facie   case   of   disability



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            discrimination as set  forth in  Garrity and  Tate; this,  we
                                             _______      ____

            will  not do.3  Given the state of the Massachusetts caselaw,

            any misapplication of the law with respect to Petsch-Schmid's

            initially  requested but  now-challenged  charge  is  neither

            "obvious,"  City of Newport, 453  U.S. at 256,  nor a "clear"
                        _______________

            miscarriage  of justice, Morris, 528 F.2d at 859.  Because of
                                     ______

            Petsch-Schmid's  jury-charge waiver, the requirement that she

            prove that  Boston Edison terminated her  "solely because of"

            her disability  is  the law  of  the case.   See  Wells  Real
                                                         ___  ___________

            Estate, Inc. v. Greater Lowell Bd. of Realtors, 850 F.2d 803,
            ____________    ______________________________

            809 (1st Cir.  1988) (explaining that, given Rule  51 waiver,

            "the instruction as given becomes the law of the case").4

                      B.  Mixed Motive
                      ________________

                      In a  related vein,  Petsch-Schmid claims  that the

            court erred when it "apparently attempted to explain  the law

            governing the  plaintiff's burden of proof  in 'mixed motive'

            discrimination cases."    The "mixed-motive  instruction"  to


                                
            ____________________

            3.  We  note here that, in its February 2, 1996 memorandum of
            decision  and order  on  Boston Edison's  motion for  summary
            judgment,  the district  court,  cognizant  that  only  state
            claims remained, informed the  parties that it would consider
            a request to remand  the case to state court.   Neither party
            sought remand.

            4.  At  oral  argument   before  this  court,   Petsch-Schmid
            contended for the first  time that, in fact, the  jury charge
            erroneously  reflected  a  "reasonable   accommodation  case"
            rather  than   a  case  of  "disparate   treatment  based  on
            disability."   We deem waived  such arguments raised  for the
            first time at oral  argument.  See Carreiro v.  Rhodes Gill &amp;
                                           ___ ________     _____________
            Co., 68 F.3d 1443, 1449 (1st Cir. 1995).
            ___

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            which  Petsch-Schmid  refers  was  embedded  in  the  court's

            explanation  of the  requirement that  she prove  that Boston

            Edison  terminated her  "solely  because of"  her disability.

            The court charged the jury as follows:

                           By  "solely," the law  means that an
                      employee's  handicap   was  the  deciding
                      factor in  her termination and  that were
                      she . . .  not handicapped, she would not
                      have been fired  even if everything  else
                      the employer  says about the  reasons for
                      her  termination  are  true.    If Boston
                                                      _________
                      Edison's  motives are mixed, in the sense
                      ___________________________
                      that Ms.  Schmid's disability was  only a
                      minor factor in a decision  influenced by
                      proper, nondiscriminatory considerations,
                      a  decision  that  would have  been  made
                      regardless  of  whether  Ms.  Schmid  was
                      handicapped, then she will have failed to
                      meet her  burden on  this element of  her
                      claim. (emphasis added).

                      Petsch-Schmid neither initially requested  a mixed-

            motive   instruction  with   respect   to   her   disability-

            discrimination claim, nor lodged  an objection to this charge

            below.    She now  argues  that  the instruction  erroneously

            removed from the  jury's purview whether  and to what  extent

            her disability  played a motivating role  in her termination,

            and  whether Boston Edison would have  made the same decision

            without its  consideration of  her disability.   We disagree.

            Contrary  to her contention,  the court's  charge, read  as a

            whole,  could   be  taken  as  submitting  to  the  jury  the

            determination  of   whether  or  not  she   would  have  been

            terminated regardless of any consideration of her disability.




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                      True,  the  court did  not  place  the burden  upon

            Boston Edison to prove  that it would have made  the decision

            absent  the  discriminatory motive  (as  in  a typical  mixed

            motive case5).   Our  research, however, reveals  no reported

            Massachusetts  cases  that  have  applied   the  mixed-motive

            framework to a disability discrimination case under ch. 151B.

            Further, for the  purposes of this case, the requirement that

            the disability be the  sole reason for -- rather than only "a

            motivating part"  in --  the termination renders  suspect the

            application of the Price Waterhouse balance of burdens.  This
                               ________________

            issue  is  potentially  complex  and, had  it  been  properly

            preserved  for appeal,  it might  have presented  us with  an

            interesting  legal  question.   Having  failed,  however,  to

            request a separate mixed-motive instruction on her disability

            discrimination  claim,  to  object  to the  jury  charge  and

            verdict form, or even to offer developed argumentation of the

            point on appeal, Petsch-Schmid cannot prevail under the plain

            error standard.6

                                
            ____________________

            5.  See  Price Waterhouse  v. Hopkins,  490 U.S.  228, 244-45
                ___  ________________     _______
            (1989)  (plurality opinion); see also, Smith  v. F.W. Morse &amp;
                                         ___ ____  _____     ____________
            Co., 76 F.3d 413, 421 (1st Cir. 1996).
            ___

            6.  Petsch-Schmid   further  hints   that,   on  her   gender
            discrimination claim,  the court should have  instructed that
            Boston Edison  bore the burden of persuasion  with respect to
            any  mixed-motive.    We  deem  waived  her  perfunctory  and
            unadorned argument  in this  respect.   See United  States v.
                                                    ___ ______________
            Zannino, 895  F.2d  1, 17  (1st Cir.  1990).   In any  event,
            _______
            Petsch-Schmid fails to identify any direct evidence of gender
            discrimination that  might trigger such an  instruction.  See
                                                                      ___
            Smith v. F.W. Morse &amp; Co., 76 F.3d 413, 421  (1st Cir. 1996);
            _____    ________________

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                      C.  Pretext
                      ___________

                      Petsch-Schmid   claims   error   in   the   court's

            instruction that  she must  have proven  either that  she was

            fired because  of her disability, or that  Boston Edison lied

            about  her  reasons  for  termination.    She  says  that  by

            requiring   proof  that   Boston  Edison   lied,  the   court

            effectively  compelled "smoking  gun" evidence;  she contends

            that she should  have been  able to rely  upon the  inference

            arising  from her proof  that similarly situated non-disabled

            employees had  not been terminated.   Petsch-Schmid, however,

            overlooks   the  fact  that  by  potentially  permitting  her

            recovery upon proof of Boston  Edison's lies, she enjoyed the

            benefits of the court's  "pretext-only" instruction.  Compare
                                                                  _______

            Blare,  646   N.E.2d  at  117  (entitling   a  discrimination
            _____

            plaintiff to recovery upon establishing pretext) with LeBlanc
                                                             ____ _______

            v. Great Am. Ins. Co., 6 F.3d 836, 843 (1st Cir. 1993) (under
               __________________

            federal  law, permitting,  but  not compelling,  inference of

            intentional discrimination  upon proof of pretext).   We find

            no error and certainly no plain error.

            2.  "Stipulation Error"
            _______________________

                      One  week  before  trial, Boston  Edison  moved  in

            limine to  limit the  presentation of evidence  pertaining to

            Petsch-Schmid's  medical condition.   Boston Edison based the

            motion, in  part, on the  district court's pretrial  grant of

                                
            ____________________

            id. at 431 (Bownes, J., concurring).
            ___

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            summary judgment  in its favor on  Petsch-Schmid's claim that

            it failed  reasonably  to accommodate  her alleged  disabling

            condition.   See Mass. Gen. Laws  ch. 151B,   4(16).   In its
                         ___

            motion,  Boston  Edison  offered  to stipulate,  in  lieu  of

            medical evidence, that (1) Petsch-Schmid in fact has multiple

            sclerosis,  and  (2)  Petsch-Schmid  first  asserted  to  her

            supervisor  in May 1991 that she had multiple sclerosis.  The

            parties never prepared a written stipulation to this effect.

                      After  opening  arguments, Petsch-Schmid's  counsel

            attempted to read what  he believed to be the  stipulation to

            the   jury.    Boston  Edison's  counsel  objected,  however,

            agreeing  only that  "the  company acknowledges  that it  now

            knows that, in fact, Ms. Schmid had multiple sclerosis on May

            13, 1991.  It did not know  it on that date."  The court then

            told the jury:

                      [T]he  parties  agree  .  .  .  that  Ms.
                      Schmid,   indeed,   was  suffering   from
                      multiple sclerosis.  There is, as you may
                      gather from the interchange, a dispute as
                      to whether an when the company learned of
                      this fact.   But  that she did  have that
                      condition  on  May  13, 1991,  is  not in
                      dispute.

            Petsch-Schmid lodged no objection to the ultimate formulation

            of the stipulation.

                      Petsch-Schmid  now  claims  that there  was  "plain

            error   in  the   key  stipulation"   which  undermined   her

            credibility at  trial and unfairly burdened  her with proving

            the  date  by  which  Boston Edison  knew  of  her  disabling


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            condition.  She also contends that  the court's related order

            limiting evidence of her  diagnosis and treatment impeded her

            ability to  counter-balance Boston Edison's  theory that  she

            used her illness "as an excuse" once her job was  in jeopardy

            for performance-related reasons.  We are unpersuaded.

                      Petsch-Schmid's failure to object  in any manner to

            the  stipulation as  presented to  the jury  both  robbed the

            district court of any on-the-spot corrections, and raises the

            specter  that Petsch-Schmid  did not,  at the  time, consider

            detrimental  the stipulation  as  entered.7   Further,  there

            exists a  logical  disconnection  between  the  exclusion  of

            evidence regarding  her condition,  and the disputed  date by

            which Boston  Edison knew of her illness.  The court did not,

            in  any way,  prevent Petsch-Schmid  from producing  evidence

            (which she did) to  establish that Boston Edison knew  of her

            condition in May 1991.8  Nor did Petsch-Schmid claim surprise

                                
            ____________________

            7.  See  Anderson v. Cryovac,  Inc., 862  F.2d 910,  919 (1st
                ___  ________    ______________
            Cir.  1988)  ("If   a  slip  has   been  made,  the   parties
            detrimentally affected must act expeditiously to cure it, not
            lie in  wait and ask for another  trial when matters turn out
            not to their liking").

            8.  We note that Petsch-Schmid  cites Ward v. Westvaco Corp.,
                                                  ____    ______________
            859  F. Supp. 608, 614  (D. Mass. 1994),  for the proposition
            that,  as long as the employer has some notice of disability,
            it need  not  know the  specific  details of  the  condition.
            Here,  Petsch-Schmid's  supervisor,  Alden,   testified  that
            Petsch-Schmid told  her in May 1991 that she was "handicapped
            . . . [and] needed  reasonable accommodation."  Thus, Petsch-
            Schmid  elicited from Boston  Edison pertinent testimony that
            it  had some notice of an asserted disability on the disputed
            date.   Under her  own cited authority,  therefore, it  seems
            that  Petsch-Schmid  has  even  less reason  to  complain  of

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            or prejudice  in this respect at  trial.  In sum,  we find no

            reversible error.

                      For  the foregoing  reasons,  the judgment  of  the

            district court is affirmed.  Costs to appellees.
                              affirmed.  Costs to appellees.
                              ________   __________________









































                                
            ____________________

            prejudice from the asserted stipulation error.

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